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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


In the Matter of the Application of the
United State of America for a Criminal                             3:22MJ680 (TOF)
                                                          Case No. _______________
Complaint and Arrest Warrant
For GARRET SANTILLO                                       Filed Under Seal


STATE OF CONNECTICUT
COUNTY OF HARTFORD



           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                       AND ARREST WARRANT

      I, Postal Inspector Team Leader Kimberly E. Dallas, being duly sworn, herby

deposes and states:

I.    Introduction

      A.     Affiant

      1.     I am a Postal Inspector Team Leader with the United States Postal

Inspection Service (the "USPIS") and have been so employed since August of 2010.

I became certified as a Dangerous Mail Investigator (DMI) Specialist in March of

2011 and have continued to hold that certification throughout my career. Part of

my duties as a DMI Specialist is to investigate cases involving the US Mail where

threats are made using the US Mails; additionally, I have investigated such threat

cases where, for example, hoax white powders are mailed, as well as other unlawful

use of the US mail system. In August 2018, I became certified as a Letter Mail

Tracking (LMT) Specialist which includes such skills as identifying, intercepting,

and investigating threatening and harassing communications in the US Mail. Over
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the course of my career, I have participated in multiple investigations of criminal

activity, including investigations involving the transmission of threatening

communications through the US mail. Through my training and experience with

the USPIS, I am familiar with the arrest of individuals who commit criminal

violations. I am also familiar with many of the tactics and techniques used by

individuals to send threats through the mail.

         2.   I am an investigative or law enforcement office of the United States

within the meaning of Title 18, United States Code, Section 2510(7) in that I am

empowered by law to conduct investigations of and to make arrests for offenses

enumerated in Title 18, United States Code, Section 2516. I have personally

participated in the investigation concerning the violation of the federal law listed in

this affidavit.

         3.   The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses.

Because this affidavit is being submitted for the limited purpose of establishing

probable cause for the issuance of a complaint and arrest warrant, I have not

included each and every fact known to me regarding this investigation. Rather, I

have set forth only those facts that I believe are sufficient to establish probable

cause.

         4.   I make this affidavit in support of an application for a warrant to

arrest GARRETT SANTILLO. As detailed below, there is probable cause to believe

and I do believe beginning in or about March 2022 through present, an individual
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who is well-known to law enforcement named Garrett SANTILLO (“SANTILLO”)

did knowingly deposit or cause to be delivered, through the US Mail, letters

containing threatening communications in violation of Title 18, United States Code,

Sections 875 and 876, Interstate Communications and Mailing a Threatening

Communication (the “Subject Offenses”).

                       IDENTITY OF THE DEFENDANT

      5.     SANTILLO is a Caucasian male who is approximately five feet, eleven

inches tall, and weighs approximately 220 pounds. SANTILLO has a criminal

history from Connecticut. As related to mailing threatening communications,

SANTILLO was convicted of the following Federal charges:



             •     10/19/2001 – Title 18 USC 875(c) Sending Threatening
                   Communications, 5 years probation;

             •     9/04/2008 – Title 18 USC 875(c) Sending Threatening
                   Communication, 12 months imprisonment, 3 years supervised
                   release;

             •     08/02/2016 – Title 18 USC 876 Mailing Threatening
                   Communication, 5 years probation.


                               PROBABLE CAUSE

      6.     As detailed below, there is probable cause to believe, and I do believe,

that SANTILLO has engaged in and is engaging in violations of Title 18, United

States Code, Sections 875(c) and 876 (Mailing a Threatening Communication)
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      7.     This affidavit is based upon my personal knowledge; my review of

documents, photos, surveillance, business records, certain threatening mailings,

and other evidence; my conversations with other law enforcement personnel;

discussions with potential witnesses; as well as my training, experience, and advice

received concerning the use of computers in criminal activity and the forensic

analysis of electronically stored information (“ESI”). Because this affidavit is being

submitted for the limited purpose of establishing probable cause effectuate an

arrest, it does not include all the facts I have learned during my investigation.

Where the contents of documents and the actions, statements, and conversations of

others are reported herein, they are reported in substance and in part, except where

otherwise indicated.

      8.     As discussed in more detail below, the Subject Offenses are defined

herein as violations of Title 18 USC §§ 875(c) and 876 (Sending Threatening

Communications). Based on evidence gathered to date, I have probable cause to

believe, and I do believe, that SANTILLO is again engaging in violationT of 18 USC

§§ 875 and 876 BOE has sent well-over a hundred such threatening letters over the

last few months to individuals, including judges, news contributors, and other

noteworthy public officials. As discussed in more detail below, physical surveillance

of the building in which SANTILLO resides has revealed, among other facts, that

SANTILLO has been mailing a large number of letters, the letters contain

threatening and hateful statements, the letters contain
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threats of violence, the letters are created on a computer using a word processing

software. The investigation has revealed through video and other surveillance that

SANTILLO has approached the outgoing mail slots in his building and deposited

large stacks of letters all with similar writings, styles, appearances, and threats

within them, and the evidence has established that SANTILLO is engaged in this

conduct. Additionally, as discussed herein, SANTILLO has been federally

prosecuted, convicted, and sentenced for mailing threatening letters three prior

times and recently completed his most recent term of supervision, in August 2021.

II.   Probable Cause Based on the Investigation To Date.

      9.     Based on the facts set forth below, I believe there is probable cause

that SANTILLO has engaged and is continuing to engage in the Subject Offenses.

      10.    As background of the investigation it bears mention that between

March 21 and April 5, 2022, I was contacted by the Director of Human Resources

for Hearst CT Media Group (the HR Director of Hearst) who informed me that

several individuals who serve as content contributors to news articles for local

newspapers around the State of Connecticut had been receiving threatening letters

sent to their business addresses and/or their home addresses. The HR Director of

Hearst stated that some of the letters being brought to law enforcement’s attention

were received several months ago. The HR Director of Hearst initially provided me

with copies of the threatening letters, and, at a later time, she provided me with the

originals. A sampling of the threatening letters is attached to this affidavit as

Exhibits 1a-1c. (See Exhibit 1a-1c). The victim recipients of these letters are
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referred to herein by their initials as M.Z.; D.G.; and L.G. and to protect their

privacy and rights as victims, their names have been redacted from the Exhibits.

The other victim recipients of the threatening letters are also referred too herein by

their initials. The threatening nature of the letters is established based on the

content of the letters themselves. For example, the letter to victim M.Z. uses the

following language “…PAST KILLERS THAT THINK THEY GOT AWAY WITH IT

INCLUDING SKAKEL AND OJ Simpson will be eliminated! We will do the same to

you for your lies…” The letter to victim D.G. uses the following language “All the

changes in this letter Must be followed or else punishment at peoples’ homes

including yours will occur!” The letter to victim L.G. uses the following threatening

language: “We are telling everyone including the head of the NAACP and the KKK

and all similar organizations including all “white” supremacy organizations. People

that don’t follow all this will be killed.”

       11.    As is apparent in Exhibit 1a-1c, the letters about which the

investigation is focused, are typed and printed, which indicates the use of

computers, laptops, printers, copiers, and/or other electronic devices to employ word

processing software programs. As can be observed from the letters themselves, the

letters have parts which are capitalized and/or bolded, as well as capitalization to

the first letter in the middle of a sentence. These letters also employ language

about race, including frequently stating: “Stop using, saying and printing the term:

BLACK people and ‘Black Lives Matter.’” The presentation of the text, including

the bolding further indicate to me that a computer and word processing software is
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being used allowing SANTILLO to emphasis various words easily. Also, the sheer

number of letters, which is placed at over one hundred, establishes that a computer

and printer are being used to execute the drafting and printing aspect of the crime.

Moreover, these are not the types of letters that individuals who commit the crime

of Sending Threatening Communications, print at a public or shared printer, such

as a business center, which further leads me to conclude that these letters are being

printed by SANTILLO in his apartment.

      12.    As part of the continuing criminal investigation, on or about April 6,

2022, I was notified by Officer Christopher Lawrence of the New Haven Police

Department, that they had recovered a threatening letter addressed to victim with

the initials “I.T.,” an official with the Board of Education (See Exhibit 2). Officer

Lawrence provided the original envelope and letter to me. Again, as seen in Exhibit

2, the same language is used as was used in Exhibit 1a-1c, namely: “Stop using,

saying and printing the term: BLACK people and “Black Lives Matter”.”; as well as

“If you don’t obey what this letter says, along with others including [name redacted]

and people in Washington DC and everywhere and you. You all will be killed!!”

This indicates to me, as a trained Dangerous Mail Investigator, a number of

important facts, that the mailing more than likely originated from the same

individual, that the individual has a pattern and practice or modius operandi, and

that the individual is more than likely using the same template or cutting and

pasting from various letters when writing new threatening letters because the

operative language is repeating.
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      13.    On or about April 11, 2022, Detective Jeff Cortes of the Milford Police

Department notified me an officer at their department, victim P.N., had received a

threatening letter (See Exhibit 3). Detective Cortes provided the original letter and

envelope to me. Exhibit 3 contains the same language as Exhibits 1a-1c and 2:

“Stop using, saying and printing the term: BLACK people and “Black Lives

Matter”.”; and the threat of; “If you don’t obey what this letter says, you along with

others including people in Washington DC and everywhere will be killed!!” This

letter while having similar language has some difference that the earlier exhibits.

This letter has portions underlined yet slightly different sentence structures. This

is indicative of the mailer changing the contents letters on a word processing system

using “word” or other word processing software and slightly altering the original

text of earlier letters to tailor each letter to the intended recipient. This is evidence

that the author of these letters, who I have probable cause to believe and do believe

is SANTILLO, is using an electronic device to alter and manipulate each letter. For

the purposes of this affidavit, not all letters received are discussed within this

affidavit nor are they attached. However, upon my review of the letters received, I

observed if a person other than the recipient was named in the letter, frequently,

that person also received a letter from the sender, who I believe to be SANTILLO.

As discussed below, that has happened on a number of occasions in this matter.

      14.    On or about May 3, 2022, the HR Director of Hearst informed me that

another individual who served as a contributor, referred to herein as J.B., received

a threatening letter which is attached hereto as exhibit 4. (See Exhibit 4). In this
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letter, another victim with the initials V.A. was mentioned. Because of their area of

jurisdiction, I reached out to the U.S. Marshal’s Service to notify them of the fact

that victim V.A. would be very likely to receive a similar letter, as has been one of

the patterns and practice and one of sender’s modus operandi. Senior Inspector (SI)

Matthew Parker of the U.S. Marshals Service informed me that in fact a letter had

been received by Victim V.A. (See Exhibit 5). SI Parker also informed me that

based on his experience and dealing with an individual who had previously been

prosecuted and sentenced in the District of Connecticut (on multiple occasions and

once by the Southern District of New York), and based on the modus operandi in

this matter, that he believed the sender of the letters was Garrett SANTILLO

(SANTILLO). SI Parker further informed me that he had previously investigated

and arrest SANTILLO for mailing threatening letters. As is clear on their face, the

letters attached as Exhibits 4 and 5, contain the same or very similar language.

Additionally, these letters also have new language, specifically referencing abortion

and these letters are longer than the previous exhibits. However, both Exhibits 4

and 5 contain this threatening language: “If you don’t obey what this letter says,

you along with others including people in Washington DC and everywhere will be

killed!!” Upon careful review of the numerous letters being sent with all the similar

characteristics including the same language and theme and threats throughout the

letters and based on my training and experience, I believe that this is indicative of a

single person mailing these letters, despite using the “we” language in the letters.
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      15.       SANTILLO is known to law enforcement officers as a person who has

mailed threatening letters in the past. SANTILLO the three following Federal

convictions:

            x   October 19, 2001 – Convicted of Title 18 USC 875(c) Sending
                Threatening Communications, sentenced to 5 years probation;

            x   September 4, 2008 – Convicted of Title 18 USC 875(c) Sending
                Threatening Communication, sentenced to 12 months imprisonment, 3
                years supervised release;

            x   August 2, 2016 – Title 18 USC 876 Mailing Threatening
                Communication, 5 years probation.

I know from my investigation that SANTILLO recently completed his term of

supervision, in August 2021.


      16.       Additionally, I know where SANTILLO is residing because according

to United States Postal records, SANTILLO filed a change of address (COA) with

the United States Postal Service (USPS) effective 7/30/2021, changing his address

from 163 Blake Street, Apt 4, New Haven, CT 06515 to 75 Washington Ave,

Hamden, CT. Moreover, SANTILLO filed another COA with USPS effective

9/06/2021 changing his address from 76 Everit Street, New Haven, CT 06511 to 75

Washington Ave, Hamden, CT.

      17.       On or about May 10, 2022, Detective Victoria Ryan of the Ridgefield

Police Department notified me that a threatening letter was received by a CT State

Representative, victim A.G.S. (See Exhibit 6). As with earlier threatening letters,

the language used in Exhibit 6 also talks about abortion and contains the threat of:
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“Underlined lines have just been added for clarity! They apply to you and you will

be punished by death for doing an abortion!”

      18.    Up until the period of time in May of 2022, the letters appeared to

have been postmarked “Hartford CT” and the addresses were typed. The sender

used “forever” stamps yet different forever stamps were used, but the majority of

the stamps were U.S. flag forever stamps. None of the envelopes for the one-

hundred or so letters bore a return address. Examples of the envelops and stamps

are attached (See Exhibit 7). The names and recipient addresses have been

redacted in Exhibit 7 to protect the identity of the victims.

      19.     On or about May 27th, I was notified by SI Parker that a state judge,

victim M.E.F., had received a threatening letter attached hereto as Exhibit 8. (See

Exhibit 8). This letter had several of the same characteristics as the previous

letters, such as underlined, bolded, and capitalized portions. Again, this indicates

to me that the sender, who I have determined to be SANTILLO, is using his

computer to edit the earlier letters and tailor them to each recipient. The letter

attached hereto in Exhibit 8 appears to be tailored to the state court judge because

it contains language of crimes being committed and the bonds being set, and setting

bond is a judicial function. This letter contained the following threatening

language: “Many witnesses among other evidence PROVE the [name redacted]

murdered [name redacted] of Fairfield Prepertory (sic) School and so you must as a

judge take away this $2,000.00 bond and change it to NO BOND!! If you don’t you

definitely will be killed and it will be painful! We can break through any
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security, which you don’t deserve anyway!” and “Judge [name redacted] will be

killed and relatives of his unless he cancels that bond,…” (See Exhibit 8 (emphasis

in original)).

       20.       Also on May 27, 2022, based on the information I had gathered to date

including the information from SI Parker about SANTILLO, I went to 75

Washington Ave, Hamden, CT and spoke to the USPS delivery carrier (USPS

carrier) who is the mail carrier responsible for delivering mail for that address. The

USPS carrier confirmed SANTILLO receives mail at his apartment located at 75

Washington Ave, Hamden, CT. The USPS carrier also stated he had already picked

up the outbound mail for that day from building 3 and 4. Based on my authority as

a United States Postal Inspector engaged in a criminal investigation, I review the

outbound mail that he had collected and found several letters of interest. These

letters had no return addresses, had typed address labels, and bore U.S. flag forever

stamps. All of which were consistent with the threatening letters that had been

received by the numerous victims. Two of the letters were addressed to an

individual with the initials K.P.G. I contacted K.P.G. and received consent to open

the letter (See Exhibit 9). I also identified a letter addressed to the US Postal

Service, attached hereto as Exhibit 10. I obtained consent of the New Haven

Postmaster to open the letter. (See Exhibit 10). While these two letters did not

contain apparent threats, they have proven to be useful in providing identifying

information that supports SI Parker’s conclusion, that I do share, that SANTILLO

is sending the threatening letters. These two non-threatening but unusual letters
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have some style features that are the same, such as bolding of words and

capitalizing, the language and theme were somewhat different. For example,

Exhibits 9 and 10 contained verbiage about someone dropping a large amount of

cash and the author of those letters was trying to locate them. The letters were

signed using the name “Brian Reynolds” but no such person resides at the location

served by the carrier who collected the outgoing mail. Additionally, the letters also

used the email address in them of doingcharityformany@gmail.com. I

performed a law enforcement database search using the database CLEAR, which

has proven to be reliable in a countless number of previous cases. Using the

CLEAR data base I was able to establish that there was not an individual named

“Brian Reynolds” residing at 75 Washington Ave, Hamden, CT, 06518.

      21.    On or about May 28, 2022, the USPS carrier notified me he believed he

had more outbound mail of interest. I instructed the mail carrier to secure the

letters at the Post Office so that I could retrieve them and review them as part of

this criminal investigation.

      22.    Thereafter, on or about May 31, 2022, I went to the Hamden Post

Office and retrieved the letters that were in question. As with the other suspicious

letters, these letters had no return addresses, were typed address labels, and used

the U.S. flag forever stamps. One of the letters was addressed to the General

Manager or Assistant Manager/ Owner of UHAUL Moving and Storage, 599

Lombard Street, New Haven, CT 06513. The manager stated that they do in fact

conduct UHAUL rentals and as part of that discussion, I obtained consent from the
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manager of 599 Lombard Street, New Haven, CT 06513. She provided consent into

the letter. The letter did not contain an apparent threat but this letter was also

signed by a purported “Bryan Reynolds” and used the same email address, namely,

doingcharityformany@gmail.com. (See Exhibit 11). This letter again talked

about a person losing money and the author trying to locate them. I also sought to

track down the addressees of the other letters that had appeared to be suspicious

and unusual. To that end, I spoke with Lieutenant Brian Donnelly of the Yale

Police Department, and asked for a contact for the letters addressed to 211 Park

Street, New Haven, CT 06511; 34 Hillhouse Avenue, New Haven, CT 06511; and 81

Wall Street, New Haven, CT 06511. Lieutenant Brian Donnelly provided me an

email stating Yale University Dean Burgwell Howard, who was currently serving as

Director overseeing the African American Cultural Center gave consent to open all

the letters.

       23.     Based on the consent received, I opened the letters addressed to 211

Park Street, New Haven, CT 06511; 34 Hillhouse Avenue, New Haven, CT 06511;

and 81 Wall Street, New Haven, CT 06511. While none of the letters contained an

apparent threat, they did further the investigation as all were signed “Bryan

Reynolds” and had email doingcharityformany@gmail.com. A sample of the

letter and envelope is marked as Exhibit 12. I observed that these letters, like the

others, used the same type of stamp as used on previous letters containing a threat.

This letter, Exhibit 12, similar to the other letters, discussed a person losing money

and the author trying to locate them.
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      24.    In furtherance of the investigation, on or about May 31, 2022, I went to

75 Washington Avenue, Hamden, CT 06518. I entered into the common vestibule

between Buildings 3 and 4 where the mailboxes are located. I observed the resident

intercom system for building 3 and identified the name “Santillo” for apt 101 in

Building 3. See picture below (“101 Caruso/Santillo”).




      25.    On or about June 1, 2022, the USPS carrier, advised there was a parcel

addressed to “Garrett Santillo” at 75 Washington Avenue, Hamden, CT 06518 Apt.

3-101. The parcel was from “Shipping Warehouse TRC, The Right Cartridge, Inc.,

9421 Winnetka Ave, Unit L, Chatsworth, CA 91311.” Subsequently the records

associated to this parcel were obtained and the business records showed toner ink

for a printer was ordered by SANTILLO to his address and paid for using PayPal

Express. I know based on my training and experience that typed and printed

letters would require ink to be created. This is indicative of the author of these

letters having access to a computer and printer in their residence. Additional
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records established that SANTILLO received a delivery of an ink in May 2022, on or

about May 31, 2022 and a subsequent second delivery of ink to his apartment, on or

about June 18, 2022. The records also showed an email associated with these

orders of garrysantillo@gmail.com. I believe it is noteworthy that there have

been multiple deliveries of ink toner in that it further establishes that a significant

amount of printing is being done by SANTILLO at his home address and that he is

using a computer and printer as instrumentalities of the crimes that I have

probable cause to believe he is committing.

      25.    The records also established that there was an Internet Protocol (IP)

address associated with the ink purchases to this IP address is: 32.210.55.164. An

IP address on the internet is analogous to a street address in the physical world. A

computer or router connects to an internet service provider who delivers internet

service through a particular IP address. I know based on my training and

experience that connection history information and records can be stored on an

electronic device, such as a router, computer, laptop, tablet, smartphone, and

printer.

      26.    Subsequently a subpoena was served to Google.com for information

associated to emails doingcharityformany@gmail.com and

garrysantillo@gmail.com. The records showed that IP address 32.210.55.164

was associated with log-ins to garrysantillo@gmail.com between May 20, 2022

and June 3, 2022. The records also showed that IP address 32.210.55.164 was

associated with logins to doingcharityformany@gmail.com between April 22,
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2022 and May 20, 2022. No other IP addresses were used during both those time

frames. Accordingly, I can tie SANTILLO to both e-mail addresses and to the other

unusual mail, discussed above. The fact that he appears to be using the alias of

“Brian Reynolds” is another fact that leads me to the conclusion that he is

committing a crime as defendants in these types of cases frequently use aliases.

        27.   Subsequently a subpoena was served to Frontier Communications for

records associated to IP address 32.210.55.164. The records show that IP address

is assigned to a router located at SANTILLO’s home address. The Frontier account

subscriber is listed as Ann Caruso. Based on the resident intercom it is clear that

SANTILLO and Caruso are both affiliated with the same residential premises and

accordingly, I have concluded that the IP address and internet account of Frontier is

associated with the same residential premises and references back to SANTILLO as

well.

        28.   On or about June 2, 2022, USPS carrier advised he had recovered more

outbound letters from the outbound mailbox for Building 3 and 4. I met the carrier

at 75 Washington Ave, and identified these letters and as with the other suspicious

and threatening letters, these letters had no return addresses, had typed address

labels, and bore U.S. flag forever stamps. The letters were addressed to a

contributor for a newspaper, a local president for Connecticut Black Chambers of

Commerce (CTBCC), and two Connecticut State Representatives. I contacted the

contributor, victim J.M., who provided consent to open the letter. This letter did

contain language as seen in the earlier Exhibits; “Everyone must STOP using the
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term: BLACK people and “Black Lives Matter”. “If you don’t obey what this letter

says, along with others including people in Washington DC and everywhere and

you. You all will be killed!!” (See Exhibit 13). I contacted one of the State Reps.,

victim C.R., whom only had connection to one of the addresses listed. They

provided consent to open that one letter. I contacted the other State Rep, victim

Q.W., who stated they were not associated to any of the addresses listed, therefore

could not provide valid consent to open any of the letters. I met with CTBCC victim

D.C. who provided consent to open the letters addressed to them. These letters did

contain threatening communications. (See Exhibit 14). This letter contained

language, as in the earlier letters as well as Exhibit 13: “Everyone must STOP

using the term: BLACK people and “Black Lives Matter”. “If you don’t obey what

this letter says, along with others including people in Washington DC and

everywhere and you. You all will be killed!!”

      29.    Also, on or about June 2, 2022, I examined where the outbound

mailboxes are for 75 Washington Ave, Buildings 3 and 4. Below is the picture of the

entry door located closer to Building 4.
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Upon entering the building, to the left there are mailboxes for Building 4 including

the outbound mail slot (mailbox #4). Per the USPS carrier, mailbox #4 is where the

outbound letters had been recovered from. See pictures below.
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Upon entering the building to the right, there is a hallway leading to an entrance to

building 3. Mounted to the wall, a mailbox marked “outgoing mail only” is located

(mailbox #3). See picture below.

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       30.   On or about June 3, 2022, I opened the letter addressed to victim C.R.

The letter did contain a threatening communication. (See Exhibit 15). This letter

contained the following language: “Everyone must STOP using the term: BLACK

people and “Black Lives Matter.” “If you don’t obey what this letter says, along with

others including people in Washington DC and everywhere and you. You all will be

killed!!”.

       31.   Also, on or about June 3, 2022, I obtained a mailbox key to utilize to

check the outbound mail for mailbox #4 and mailbox #3. At approximately 4:00 PM,

while at 75 Washington Ave, Hamden, CT, I observed a male who matched the

description of SANTILLO enter into the front passenger side door of a vehicle. The

driver was an elderly female. The vehicle was a white Volkswagen Jetta with CT
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license plate AU-23600. The registration came back to Ann Caruso. At the time of

this affidavit, SANTILLO does not have a valid CT driver license.

      32.    The name Caruso can be seen on the intercom system as well as

SANTILLO for unit 3-101. Per the USPS carrier, Caruso also receives mail at this

location. Based on my conversations with SI Parker, Caruso is believed to be a

family member of SANTILLO.

      33.    On or about June 4, 2022, Postal Inspectors conducted surveillance on

mailbox #4. Nothing of substance was observed.

      34.    On or about June 6, 2022, I went to mailbox #4 to check the outbound

mail. I identified two letters of interest. These letters had no return addresses, had

typed address labels, and bore U.S. flag forever stamps. One letter was addressed

to contributor, victim E.H. and the other journalist G.H. I contacted contributor

E.H. and obtained consent to open the letter. The letter did contain a threatening

communication. (See Exhibit 16). This letter again bore the same language as other

letters: “Everyone must STOP using the term: BLACK people and “Black Lives

Matter.” “If you don’t obey what this letter says, along with others including people

in Washington DC and everywhere and you. You all will be killed!!”. To be clear,

this is the out bound mailbox #4 from the building that SANTILLO resides in and

as evidenced by the intercom system, there are not very many units associated with

that out bound mailbox.

      35.    Also, on or about June 6, 2022, I met with property manager Ricky

Thornberry of 75 Washington Ave, Hamden, CT. Property Manager Thornberry
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provided consent to install surveillance cameras in the vestibule between buildings

3 and 4 to observe mailbox #4 and mailbox #3.

      36.    On or about June 7, 2022, Senior Technician Surveillance Specialist

Ron Schlesinger installed two covert cameras in the vestibule between buildings 3

and 4 to surveil mailboxes #3 and #4.

      37.    Also, on or about June 7, 2022, I was notified by Deputy Chief (DC)

Judicial Marshal Gloria Santiago, that a local Connecticut judge, victim E.T. had

received a threatening letter. (See Exhibit 17). This letter contained the same

language as Exhibit 8: “Many witnesses among other evidence PROVE the [name

redacted] murdered [name redacted] of Fairfield Prepertory (sic.) School and so you

must as a judge take away this $2,000.00 bond and change it to NO BOND!! If you

don’t you definitely will be killed and it will be painful! We can break through any

security, which you don’t deserve anyway!” and “Judge [name redacted] will be

killed and relatives of his unless he cancels that bond,…”

      38.    Later, on or about June 7, 2022, witness C.C. contacted me and

provided consent via victim G.H into the letter addressed to G.H. This letter also

contain a threatening communication. (See Exhibit 18). This letter again bore the

same language as other letters; “Everyone must STOP using the term: BLACK

people and “Black Lives Matter”. “If you don’t obey what this letter says, along with

others including people in Washington DC and everywhere and you. You all will be

killed!!”. At this point in the investigation, many of the letters were altered to be

directed to each recipient. This again is indicative of the author using an electronic
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device to tailor each letter before it is printed, but has the same modus operandi

and same style and verbiage. This is evidence that the author has access to a

computer or laptop or other electronic device and a printer to produce these letters.

      39.    On June 20, 2022, at approximately 11:42 PM, the surveillance camera

recorded a male fitting SANTILLO’s description mailing a number of letters. The

time stamp on the video is “1/5/1970 1334” (1:34 PM). When Postal Inspector Josh

Governale switched the memory card and battery of the cameras on June 16, 2022,

the date and time stamp reset to “1/1/1970 0000”. However, Inspector Governale

was able to determine the approximate time based on when he performed the

exchange, therefore, 1/5/1970 1334 (1:34 PM) equals approximately 6/20/2022 2342

(11:42 PM). See still images below.
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Based on my observation of the surveillance video, I observed SANTILLO approach

mailbox #4 with letters in hand. SANTILLO comes from the direction of his

apartment and mails several letters while wearing a single dark glove on his left

hand only late in June, at a time when gloves would not normally be worn -
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moreover, if it were for safety or sanitary concerns one would expect to see gloves on

both hands. I know based on my training and experience that mailers of

threatening communications will often times wear gloves to minimalize the

fingerprints or DNA being left on the surface of an envelope to elude forensic

examinations. This allows the mailer to remain more anonymous while mailing

threatening communications. It bears mention that finger print analysis did not

discovery any of SANTILLO’s prints on the suspicious and threatening mail which

is not surprising based on the surveillance video. SANTILLO depart mailbox #4

with no letters in hand and heads towards the direction of his apartment. The

video also depicts SANTILLO as barefoot. I know this to mean that he most likely

is not walking a long distance to get back to where he came from, and likely did not

and is not going outside.

      40.    On or about June 21, 2022, Inspector Governale went to 75

Washington Ave, Hamden, CT and recovered additional letters of interest from

mailbox #4. As with the others, these letters had no return addresses, had typed

address labels, and bore U.S. flag forever stamps. These letters match the

characteristics of the letters mailed by SANTILLO in the video. One of the letters

was addressed to victim D.X.B. I met with victim D.X.B. in person the same day

and obtained consent to open the letter. The letter contained the same threatening

language as previous Exhibits; “Everyone must STOP using the term: BLACK

people and “Black Lives Matter”. “If you don’t obey what this letter says, along with

others including people in Washington DC and everywhere and you. You all will be
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killed!!”. Victim D.X.B. gave consent for me to retain the original letter and

envelope. (See Exhibit 19).

      41.    As mentioned above, several of these letters throughout this

investigation were provided to the USPIS Forensics Laboratory for forensic review.

The submissions were examined for latent fingerprint. No fingerprint associated to

SANTILLO were identified. Any prints identified were cleared as belonging to

witnesses (New Haven Postmaster) or other involved law enforcement officers

(Milford Police Department).

      42.    The investigation has further revealed that SANTILLO has no other

location out of which he could be operating, in that he does not have an office or

location of employment nor does he have any other known addresses or other family

members with such an address whom he has significant contact such that there

would be an additional premises for the agents to monitor and surveil.

      43.    Based on the foregoing, I respectfully submit there is probable cause to

believe that SANTILLO is engaged in the Subject Offense.
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